Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 1 of 11 PageID #: 49




                                                                Exhibit B
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 2 of 11 PageID #: 50
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 3 of 11 PageID #: 51
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 4 of 11 PageID #: 52
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 5 of 11 PageID #: 53
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 6 of 11 PageID #: 54
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 7 of 11 PageID #: 55
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 8 of 11 PageID #: 56
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 9 of 11 PageID #: 57
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 10 of 11 PageID #: 58
Case 1:24-cv-01118-JRS-TAB Document 1-2 Filed 07/03/24 Page 11 of 11 PageID #: 59
